Case 4:06-cv-00042-WLS Document 153-11 Filed 06/04/12 Page 1 of 13




                          Exhibit “8 b”
         Case 4:06-cv-00042-WLS Document 153-11 Filed 06/04/12 Page 2 of 13



                     IN THE SUPERlOR COURT OF MUSCOGEE COUNTY
                                   STATE OF GEORGIA                                FILED IN OFFICE
                                                                             i   1009 OCT 2q A 1/: IJlf'
DOROTHY BUCKNER, Individually               *
and on behalf of a class of all persons     *
similarly situated,                         *
                                            *
       Plaintiff,                           *
                                            *       Civil Action File
v.                                          *       No. SU 04 CV 241-7
                                            *
RESOURCE LIFE INSURANCE                     *
COIVlPANY, a foreign corporation            *
                                            *
       Defendant.                           *
                    ORDER ON PLAINTIFF'S MOTIONS FOR SANCTIONS

       Pending before the Court are Plaintiff's Motions for Sanctions. After independently

considering the briefs, arguments of counsel, record eVidence, and the Report of the Special

Master, the Court hereby ORDERS as follows:     I


       Throughout the five years this action has been pending, Defendant has continuously

sought to delay this matter by refusing in good faith to comply with its discovery obligations.

Instead of complying with its discovery obligations and doing what this Court has ordered,

Defendant has tal(en positions on matters pending before this Court that are directly refuted by

evidence it has been withholding. Defeodant has likewise violated its oath and its obligations

under the Civil Practice Act.

       Neither this Court nor the 'judicial system can tolerate a party disregarding its oath, the

Civil Practice Act, and the rule of law. For the below reasons, each of which the Court finds




I Although the Court referred certain matters to the Special Master and the Special Master
recommended that Defendant be sanctioned for its discovery abuses and non-compliance, the
Court has undertal(en its own independent review of Plaintiff's Motions for Sanctions and issues
this Order based on its own independent consideration of the record evidence.
            Case 4:06-cv-00042-WLS Document 153-11 Filed 06/04/12 Page 3 of 13



independently warrant the sanction outlined below, tbis Court bereby GRANTS Plaintiff's

Motions for Sanctions.

       I.        FIRST INDEPENDENT BASIS FOR SANCTIONS.

       Plaintiff filed this action and served ber first set of discovery on Defendant Resource Life

Insurance Company ("Resource Life") on January 23, 2004 - nearly six years ago: Plaintiff's

First Interrogatories and First Requests for Production of Documents and Tbings requested that

Defendant provide Plaintiff with certain discovery that is relevant to class certification.

Defendant initially refused to produce certain information to Plaintiff and on November 15,

2005, Plaintiff moved to compel the discovery. Plaintiff's Motion to Compel was argued on

September 20, 2006 and ultimately granted on August 7, 2007. The Court's August 7, 2007

Order compelled Defendant to produce certain data points sougbt by Plaintiff within sixty (60)

days of this Court's Order. Defendant failed to produce the compelled discovery within sixty

(60) days and also failed to timely move for an extension of time. Defendant belatedly moved

for an extension of time on October 12, 2007, after compliance with this Court's August 7, 2007

Order was due. When it moved for an extension of time, Defendant did not disclose to Plaintiff

or the Court that it had at that time done very little to comply witll this Court's Order. Defendant

instead falsely insinuated that it had diligently been working to comply with this Court's August

7, 2007 Order.

       On Novemher 13, 2007, Plaintiff filed a Motion for Sanctions requesting that this Court

sanction Defendant for its failure to comply with this Court's Order compelling Defendant to

produce the relevant discovery. It is undisputed that at that time Defendant bad not complied

with the August 7, 2007 Order. On March 27, 2008, this Court held a Hearing on Plaintiff's

Motion for Sanctions and gave Defendant an extension of time until May I, 2008 to finally




                                                2
         Case 4:06-cv-00042-WLS Document 153-11 Filed 06/04/12 Page 4 of 13



comply with the August 7, 2007 Order. That gave Defendant a total of nine (9) months to

comply with the Order; yet Defendant again did not fully comply with the Order by May 1,

2008. Despite the fact that this Court extended Defendant's deadline in which to comply with

the August 7, 2007 Order until May 1, 200S; Defendant never followed up with its agents to

ensure that it had all ofthe information responsive to this Court's Order in advance of the May 1,

2008 deadline. This Court held a Hearing on Plaintiffs Motion for Sanctions on June 26, 2008

and again gave the parties additional time to brief the issues.

       The Court thereafter referred this matter to Special Master Walter C. McMillan, Jr., a

retired Superior Court Judge of the State of Georgia. Special Master McMillan authored an

extensive Report on April 6, 2009 that was filed with the Clerk of Court on April 22, 2009.

After reviewing the same briefs that have been presented to this Court and holding a Hearing,

Special Master McMillan recommended that Defendant be sanctioned for a number of the

discovery abuses it has committed in this case. Defendant's failure to comply with the Court's

August 7, 2007 Order was one basis of the Special Master's recommendation. Some of the other

bases outlined below were also cited by the Special Master as reasons Defendant should be

sanctioned. Defendant filed exceptions to the Special Master's Report and Plaintiff filed a

Response. This Court has considered the parties' hriefs and appreciates the time, effort, and

analysis of Special Master McMillan. Tbis Order, however, is the product of the Court's own

consideration and analysis of the briefs, record evidence, and arguments of counsel at several

hearings, including a full-day hearing conducted by the Court on October 14, 2009.

       As of the date of this Order and in spite of this Court's admonitions that it would consider

sanctioning Defendant if it did not produce the relevant information set forth in the August 7,

2007 Order, Defendant has still not produced all of the information it was ordered to produce to




                                                  3
          Case 4:06-cv-00042-WLS Document 153-11 Filed 06/04/12 Page 5 of 13



Plaintiff. Defendant has instead produced all of the data points it was ordered to produce for

only approximately 4% of its insureds. These basic data points about Defendant's insureds are

central to this litigation, just as they should be central to the Defendant's ordinary business

operations. This Court has given Defendant every opportunity to comply with the August 7,

2007 Order. Defendant has failed to take advantage of those opportunities despite the fact that it

has proven that it can obtain information from its dealer/agents when it so desires.

       The reasons prompting Defendant's failure to comply with the August 7, 2007 Order are

well documented in the record and will not be fully restated herein. It is the finding of this Court

that Defendant could have complied with the August 7, 2007 Drder if it would have faithfully

attempted to do so. Defendant's failure to comply with the August 7, 2007 Order was not

accidental or unavoidable, it was either willful or the result of a conscious indifference to the

consequences. This Court finds Defendant's failure to comply with the August 7, 2007 Order is

the first independent reason Defendant sbould be sanctioned in the manner set forth below.

        II.     SECOND INDEPENDENT BASIS FOR SANCTIONS.

       On December 15, 2006, Plaintiff served her Second Continuing Interrogatories and

Second Requests for Production of Documents and Things on Defendant. Plaintiff's discovery

requested that Defendant produce the loan termination dates for Defendant's insureds that

purchased credit insurance and did not receive a refund of unearned premium. When considered

together with the information this Court compelled Defendant to produce in its August 7, 2007

Order, Defendant's insureds' loan termination dates enable Plaintiff and the Court to determine

which of Defendant's insureds' loans terminated early (prior to their scheduled maturities)

without receiving a refund of unearned premium. Defendant's insureds' loan termination dates

are thus integral pieces of information relevant to   e~tablisbing   class certification.




                                                 4
         Case 4:06-cv-00042-WLS Document 153-11 Filed 06/04/12 Page 6 of 13



       In response to Plaintiff's Second Continuing Interrogatory No.8 requesting Defendant's

insureds' loan termination dates (ULTDs"), Defendant served a Verified Interrogatory Response

representing that it"had no responsive LTDs to produce to Plaintiff. (See 0111 7/07 Def. Resp. to

Pltff.'s Sec. Cont. Int. No.8) (u[Defendant] has no information to provide in response to tills

interrogatory."). Defendant did not assert a specific work product objection or otherwise notify

Plaintiff that it was withholding responsive LTDS.2 Defendant supplemented its interrogatory

responses two months later on March 8, 2007 and again represented that it had no LTDs

responsive to Plaintiff's Interrogatory No.8, and again failed to assert a specific work product

objection or otherwise notify Plaintiff that it was withholding LTDs from Plaintiff.

       Plaintiff thereafter filed a Motion for Court Order Requiring Defendant to Obtain Loan

Termination Dates on August 17, 2007. In response to Plaintiff's Motion, Defendant again

affirmatively represented to the Court that it had no LTDs and could not obtain them. The Court

and Plaintiff were consequently led to believe that the representations in Defendant's Verified

Interrogatory Responses and in Defendant's briefs filed with the Court and arguments to the

Court were true. Those representations were not true.

       This Court first learned that Defendant's representations were false during a hearing held

on another issue on August 13, 2008. 3 In fact, as Defendant confirined, Defendant bad

possessed LTDs for some of its insureds since 2005. Absent concealment of its acquisition and

possession ofthe LTDs, Defendant could not have plausibly argued (as it has done repeatedly)



2 "A general claim of privilege ... is insufficient to preserve a claim as to a document which has
been falsely declared not to exist." Orkin v. Melll/osh, 215 Ga. App. 587, 591 (1994).

3 Defendant did not voluntarily disclose tills information to the Court for the purpose of
confessing and rectifying its false representations. To the contrary, Defendant disclosed this
information merely because Defendant thought it would be helpful to Defendant's arguments on
another matter then before the Court.

                                                 5
         Case 4:06-cv-00042-WLS Document 153-11 Filed 06/04/12 Page 7 of 13



that it could not obtain LTDs, and that argument was central to Defendant's opposition to

Plaintiff's pending motion for class certification.

        LTDs are arguably the most important pieces of evidence in this case. Whether L TDs

for Defendant's insureds can be obtained so that it can be determined which insureds' loans

terminated early is a crucial question with respect to the class certification issue. Defendant's

concealment of the LIDs in its possession made possible Defendant's argument that LTDs could

not be obtained and thus that a class should not be certified because the class was not

ascertainable and a class action would not be manageable. IfLTDs can be obtained., then the

identity of those insureds due refunds can be ascertained, and many of Defendant's arguments

against class certification evaporate. In other words, Defendant's concealment of the LTDs in

its possession facilitated the making of arguments to the Court that Defendant Imew were false.

       Although the LIDs Defendant obtained in 2005 were relatively few in number, the fact

that Defendant had them, could obtain them, and could obtain them from insureds' lenders-

which was one of the methodologies whicb Plaintiff argued made a class action manageable-

was crucial evidence. But the LIDs obtained by Defendant in 2005 were not the only evidence

concealed by Defendant's false responses to number 8 of Plaintiff's Second Continuing

Interrogatories seeking LIDs. Just before the October 14,2009 hearing, Plaintiff learned that

Defendant bad obtained thousands ofLIDs as a result of similar litigation pending against

Defendant in Texas 'which had been filed by the Attorney General of Texas. Defendant did not

supplement its discovery responses to notify Plaintiff it had such responsive discovery. Because

of a "protective order" Defendant had negotiated in that litigation, there were constraints on

Defendant sharing those LIDs with Plaintiff in this case without notifying the lenders which

provided those LIDs, but Defendant neither advised Plaintiff and the Court of the fact




                                                  6
         Case 4:06-cv-00042-WLS Document 153-11 Filed 06/04/12 Page 8 of 13



Defendant had or could obtaill fuose LTDs, nor attempted to give the notice which would allow

Defendant to divulge the evidence itself to Plaintiff in response to Plailltiff's discovery. Plaintiff

had to find out about the existence of these LTDs, again obtained from lenders, on her own.

       Disclosure of the Texas LIDs was required by fue same discovery, number 8 of

Plaintiff's Second Continuing Interrogatories, which required disclosure of the LTDs Defendant

obtained in 2005. That discovery was served upon Defendant on December 15, 2006 - almost

three years ago. It is this Court's view that Defendant's concealment of the Texas L TDs is but

more evidence of Defendant's intent in providing false responses to Interrogatory number 8, and

more evidence that Defendant's arguments fuat it did not have and could not obtain LTDs was

untrue. While fuis Court does not base any sanction on Defendant's non-disclosures regarding

the Texas LTDs, that conduct by Defendant does serve to further suggest fuat Defendant's non-

disclosures and false representations were not unintentional or innocent.

       Where, as here, a party such has Defendant has violated its oath for the purpose of

obtaining an unfair advantage over its opponent, the Court must act. The Georgia appellate

courts have made clear fuat fue civil justice system cannot tolerate a party who disregards the

oath upon which our judicial system is predicated. See Metro Atlanta Rapid Transit Auth. v.

Doe, 292 Ga. App. 532, 532-34 (2008) (affirming fue trial court's order striking the defendant's

answer for concealing key information the defendant swore in verified discovery responses did

not exist); Santora v. America1l CombZlSio1l, Inc., 225 Ga. App. 771, 773 (1997) (lloldillg that the

trial court did not err ill entering fue ultimate sanction of dismissal when the plaintiff "willfully

attempted to conceal from his opponent [a single] document that, at least facially could have a

major impact on this litigation."); Orki1l v. McIntosh, 215 Ga. App. 587 (1994) (affirming

imposition of sanctions against a party who served a false interrogatory response).




                                                   7
         Case 4:06-cv-00042-WLS Document 153-11 Filed 06/04/12 Page 9 of 13



       As the Court of Appeals beld in Orkill,

       [t]o condone sucb conduct would force parties to assume the falsity of every
       sworn interrogatory response. Such a rule would allow the unscrupulous to
       conceal documents from opposing parties by the simple expedient of denying
       their existence, without fear of penalty if the deception were by some chance
       discovered.

251 Ga. App. at 591. And as the Court of Appeals conTInned in Doe,

       [a]n interrogatory answer that falsely denies the existence of discoverable
       information is not exactly the equivalent of no response. It is worse than no
       response .... An intentionally false response to a document production request
       (particularly concerning a pivotal issue in the litigation) authorizes. a trial court to
       impose the sanctions permitted by OCGA § 9-l1-37(d) for a total failure to
       respond. Accordingly, the trial court here was authorized to strike [the
       defendant's] answer for its intentionally false response ....

292 Ga. App. at 536-37.

       This Court finds that Defendant's conceabnent ofLTDs was either willful or the result of

conscious indifference to the consequences and is a second independent basis for imposition of

the sanction detailed below.

       m.      SANCTION IMPOSED BY THIS COURT.

       Because Defendant has chosen conceabnent, non-compliance, and obfuscation, this Court

hereby imposes tbe following sanction that is appropriately tailored to cure Defendant's

discovery abuse. This Court finds that Defendant engaged in the above discovery abuses so that

Plaintiff would not be able to determine which of Defendant's insureds' loans terminated prior to

their scheduled maturities and s'o that Defendant could malce arguII\ents against class certification

that the concealed evidence disproved. Tbe failures, concealment, and delay in fact seriously

prejudiced Plaintiff by imposing additional costs and delays, and perhaps most importantly by

making it substantially less likely that Plaintiff would ever be able obtain the evidence to which




                                                   8
        Case 4:06-cv-00042-WLS Document 153-11 Filed 06/04/12 Page 10 of 13



she was entitled both by this Court's Order and the rules of discovery.4 See. gellerally, Brallnell

v. State, 274 Ga. 454, 458 (2001) ("Delay is not an uncommon defense tactic. As the time ...

lenithens, witnesses may become unavaHable or their memories may fade.,,).5 As the Brallnell

case makes clear, delay is particularly harmful to the party "whicb bears the burden of proof."

ld. See Ullited States v. FOlllltaill, 840 F.2d 509, 513 (7th Cir. 1988) (delay harms the party with

tbe burden of proof because "the degradation of evidence generalIy cuts against the party with

the burden."). Thus, where a party without the burden of proof has caused delay in a manner

which violates both a court order and the discovery rules, and is particularly likely to make it

difficult for the opposU;g party to meet thl1. burden of proof, the Court should take that into

consideration in devising an appropriate sanction.

       This Court finds that all of Defendant's "non-refunded" insureds, meaning those insureds

who are members of the class outlined in Plaintiff's Complaint for whom Defendant's records

show that there bas been no refund of unearned premium, shall be presumed to have terminated

early, that is prior to their scheduled maturities. Defendant shall have the opportunity to rebut

this presumption by producing, within one-hundred and twenty (120) days of this Order, proof

that the insureds' loans did or did not terminate early. Such proof shall come from the insureds,


4 In particular, and as an example, the failure to provide the data points ordered produced by this
Court in its Order of August 7, 2007 made it impossible for Plaintiff to run credit report analyses
to determine early loan payoffs. It is undisputed that the credit reportYJg agencies dispose of
their data under a regularly adopted document retention policy. Thus, the failure to timely
comply with this Court's Order of August 7,2007 has seriously prejudiced Plaintiff's ability to
obtain LTDs for some class members.                    .

5See Veazey V. YOllllg'S Yacht Sale & Service. Inc., 644 F.2d 475,478 (5th Cif. 1981) ("Delay
alone can infuse an adverse element into the proper flow of litigation: evidence deteriorates or
disappears, memories fade, and witnesses die or move away. If the delay is unjustified, the court
can and must act to redress the balance ...."). The Veazey court affirmed the imposition of the
ultimate sanction of dismissal where the plaintiffwas responsible for the delay.




                                                  9
        Case 4:06-cv-00042-WLS Document 153-11 Filed 06/04/12 Page 11 of 13



the lenders who held the loans, or from a reliable credit reporting agency ("CRA") analysis

conducted at Defendant's cost. 6 If Defendant can adduce proof that some of the insureds' loans

did not terminate early, then those insureds will be excluded from any class.

       If the foregoing efforts by Defendant produce proof that some of the loans did terrrrinate

early" then the date of loan tennination established by that proof will be accepted by the Court,

and the amount of refund due (if any) shall be calculated based upon that LTD. If Defendant

cannot obtain proof that a loan did or did not terminate early for any reason, including hecause

the documentary evidence has been destroyed or cannot be located because it is too old, those

loans for which proof can no longer be obtained shall be presumed to have terminated early and

the amount of the refund owed to each insured whose loan has been presumed to have tenninated

early shall be $491.75, which Defendant states is the average refund paid to insureds whose

loans tenninated early in the ordinary course of its business.

       Plaintiff sought the sanction of default judgment. This Court has carefully considered

that option, and, for the present, rejects it. In the opinion of the Court formed after presiding

over this matter and these discovery issues for years, the foregoing sanction is warranted and

necessary, and that no lesser sanction would be sufficient to account for the gravity of the

Defendant's misconduct and non-compliance. It is Defendant whose misconduct has delayed

this action for years and it is Defendant and not Plaintiff or any class member that should suffer

the consequences caused by its delay and obfuscation. As noted above, the Court finds that I!ach




6. SeeJ.MLC. Life Ins. Co. v. Toole. 280 Ga. App. 372, 377 (Ga. Ct. App. 2006)("the Equifax
records on which Toole relies are admissible under Georgia's business records statute,") To the
extent that Defendant bas any questions about what the Court expects tobe done, Defendant is
directed to seek such guidance from the Court, by copy to Plaintiff, in advance of conducting the
CRA analysis.


                                                 10
        Case 4:06-cv-00042-WLS Document 153-11 Filed 06/04/12 Page 12 of 13



of Defendant's discovery abuses outlined above in and of itself authorizes the imposition of this

sanction.

       SO ORDERED, this     ~ day of @~                    ,2009.




                                                    Dougl s
                                                    Judge, uperior Court of Musco gee County




Prepared by:

Joel O. Wooten
Georgia Bar No. 776350
Brandon L. Peak
Georgia Bar No. 141605
Butler, Wooten & Fryhofer, LLP
P.O. Box 2766
Columbus, GA 31902
(706) 322-1990




                                               11
      Case 4:06-cv-00042-WLS Document 153-11 Filed 06/04/12 Page 13 of 13



                    IN THE SUPERIOR COURT OF MUSCOGEE COUNTY
                                  STATE OF GEORGIA

DOROTHY BUCKNER, Individually                *
and on behalf of a class of all persons      *
similarly situated,                          *
                                             *
       Plaintiff,                            *
                                             *      Civil Action File No:
v.                                           *      SU04CV241-7
                                             *
RESOURCE LIFE INSURANCE                      *
COMPANY, a foreign corporation               *
                                             *
       Defendant.                            *
                                CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the above and foregoing Order via

email and by depositing same in the United States mail with adequate postage affixed thereto and

properly addressed to insure delivery to:

                       Mr. Jerry A. Buchanan
                       Mr. Benjamin A. Land
                       Buchanan & Land, LLP
                       P.O. Box 2848
                       Columbus, GA 31902

                       Mr. Joel S. Feldman
                       Mr. Bruce Braverman
                       SIDLEY AUSTIN LLP
                       One South Dearborn Street
                       Chicago, IL 60603

                       Mr, Thomas M. Byrne
                       Sutherland, Asbill & Brennan, LLP
                       999 Peachtree Street, N .E.
                       Atlanta, GA 30309-3996

      This   1"1 day of October, 2009.
                                             BUTLER, WOOTEN & FRYHOFER, LLP


                                             BY~~       Ol11e)IfOfPlai1tiff
